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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                    Plaintiff,                       Criminal Case No. 21-278(BAH)

      v.                                             Hon. Beryl A. Howell


DANIEL JAY HERENDEEN,

                    Defendant.



   EMERGENCY UNOPPOSED MOTION TO DELAY SELF-SURRENDER

      Daniel Herendeen, through counsel Colleen P. Fitzharris, moves on an

emergency basis to delay his self-surrender to the St. Clair County Jail. In support of

the motion, he states as follows:

      1.       Mr. Herendeen pleaded guilty to Entering and Remaining in a

Restricted Building or Grounds, 18 U.S.C. 1752(a)(1). On April 1, 2022, this Court

sentenced Mr. Herendeen to 36 months’ Probation. (Dkt. 87, Judgment)

      2.       This Court imposed as a special condition of Probation 14 days of

intermittent confinement, which “shall be served in two periods of 7 days each within

the defendant’s first year of Probation, at a facility designated by the Bureau of

Prisons.”

      3.       More than a year has passed since Mr. Herendeen began Probation.

During that time, he has continued to work and support his children. He has not


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violated any of the conditions, and he has been in regular contact with his probation

officer.

       4.       Over the last year, the supervising Probation Department in the

Eastern District of Michigan has made numerous attempts to determine when and

where Mr. Herendeen must serve the periods of intermittent confinement. The BOP

provided no response.

       5.       On Tuesday, April 4, 2023, the BOP informed the Probation Department

and Mr. Herendeen that he must report to the St. Clair County Jail in Michigan by

Friday, April 7, 2023. He has only three days to get his affairs in order.

       6.       Recognizing the extraordinary challenges Mr. Herendeen faces to

comply with this order, the Probation Department contacted the BOP to see if he

could have an additional week to make arrangements and report to serve seven days.

The BOP refused that modest accommodation.

       7.       Compliance with the BOP’s directive to report to the jail by Friday will

cause significant hardship. Mr. Herendeen is a member of the Union Millwright Local

1554 member and is on assignment in Huntsville, Alabama, 1 where he is a foreman

at Toyota plant. In that position, he works with Japanese representatives from

Toyota and runs a crew of three during the week. He is the member of the team with

OSHA 30 Safety Training, and so he always must be there while workers are present.




1The Probation Department was aware of this out-of-state work assignment and
approved travel for this purpose.
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If Mr. Herendeen must leave this assignment to return to Michigan by Friday, this

could disrupt the work in the plant for 3–4 days while the company looks for a person

to replace him. He may also lose work opportunities in the future.

      8.       Mr. Herendeen is able and willing to comply with this Court’s judgment,

but he needs adequate notice and time to prepare to leave his work and family for a

week so that his absence does not negatively impact his employer or prevent him from

finding work in the future. He asks this Court to extend the deadline to report to the

jail by 30 days so that he can find coverage at work, return to Michigan, and make

necessary arrangements for the care of his children.

      9.       The government does not object to this request.

                                   CONCLUSION

      Mr. Herendeen respectfully asks this Court to order the BOP to extend the

deadline to report to begin the first period of intermittent confinement by 30 days.



Date: April 6, 2023        Respectfully submitted,

                                        FEDERAL PUBLIC DEFENDER
                                        WESTERN DISTRICT OF WASHINGTON

                                        s/ Colleen P. Fitzharris
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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 6, 2023, I electronically transmitted the foregoing

document to the Clerk of Court using the ECF system for filing and transmittal of

Notice of Electronic Filing to the following ECF registrant(s): Assistant United States

Attorney Anita Eve.

                                        Respectfully Submitted,

                                        FEDERAL PUBLIC DEFENDER
                                        WESTERN DISTRICT OF WASHINGTON

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